         Case 3:20-cv-00133-JCH Document 117 Filed 06/25/20 Page 1 of 4



                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

                                                        :
JAKUB MADEJ                                             :
                                                        :       CIVIL ACTION NO.
                        PLAINTIFF                       :       3:20-cv-00133-JCH
                                                        :
v.                                                      :
                                                        :
YALE UNIVERSITY, MARVIN CHUN,                           :
MARK SCHENKER, PETER SALOVEY AND                        :
JESSIE ROYCE HILL                                       :
                                                        :
                        DEFENDANTS                      :
                                                        :       JUNE 25, 2020

 DEFENDANT’S OBJECTION TO PLAINTIFF’S MOTION TO HOLD YALE POLICE
    DEPARTMENT IN CONTEMPT AND TO COMPEL COMPLIANCE WITH
                     SUBPOENA DUCES TECUM

        The defendant hereby objects to the plaintiff’s Motion to Hold Yale Police Department in

Contempt and to Compel Compliance with Subpoena Duces Tecum (“Motion for Contempt”)

because the defendant previously moved to quash the subpoena and then provided the requested

information to the plaintiff on two occasions.

I.      The Defendant Moved to Quash the Subpoena and the Court Has Not Yet Ruled Upon
        that Motion.

        In accordance with the Court’s rulings during the May 28, 2020 telephonic hearing, the

defendant filed its Objection to Motion to Compel Compliance with Subpoenas, Motion to Quash

Subpoenas, and Motion to Restrict Plaintiff to Sending Documents to Defense Counsel by E-mail

on June 5, 2020. (Docket Entry No. 106.) In that pleading, the defendant moved to quash the

subpoena directed to Yale University Police Department (“YUPD”) because the subpoena was not

signed by clerk of the court or an attorney authorized to practice in the district court for the District

of Connecticut.as required by Rule 45(a)(2) and (a)(3) of the Federal Rules of Civil Procedure.
             Case 3:20-cv-00133-JCH Document 117 Filed 06/25/20 Page 2 of 4



Rather, the plaintiff signed the subpoena himself. As a pro se litigant who is not an attorney

authorized to practice law in the District of Connecticut, the plaintiff is not authorized to issue

subpoenas. Therefore, the defendant argued that the subpoena directed to YUPD is unenforceable.

See, Docket Entry No. 106, p. 5-6. The defendant also argued that, since YUPD is a part of Yale

University, a party in this action, a request for documents from YUPD should be requested in a

request for production directed to Yale University. See, Docket Entry No. 106, p. 7.

           Contrary to the statements in the plaintiff’s Motion for Contempt, the defendant moved to

quash the subpoena directed to YUPD nearly two weeks before the plaintiff filed his Motion for

Contempt. The Court has not yet ruled upon the defendant’s motion. For this reason alone, the

plaintiff’s Motion for Contempt should be denied.

II.        The Defendant Provided the Requested Material to the Plaintiff.

           Despite moving to quash the improperly issued subpoena, the defendant provided the

plaintiff with the requested body camera videos. On or about June 15, 2020, defense counsel

mailed a disk containing all camcorder images with the plaintiff’s interaction with the Yale Police

Department on March 17, 2020 to the address listed on the plaintiff’s pleadings: 65 Dwight Street,

New Haven, CT 06511.1 On June 16, 2020, the plaintiff e-mailed defense counsel indicating that

he had not received the materials requested in the subpoena directed to YUPD. Defense counsel

responded that compliance with the subpoena directed to YUPD, had already been sent to the

plaintiff at the Dwight Street address.2 After receiving the plaintiff’s June 18, 2020 e-mail



1
    A copy of the transmittal letter is attached hereto as Exhibit A.

2
  A copy of the June 18, 2020 e-mail correspondence is attached hereto as Exhibit B. While the plaintiff feigned
ignorance as to the meaning of defense counsel’s use of “this” in the e-mail response, it is quite clear that “this”
refers to the “material requested under a subpoena served on May 11, 2020 to Yale University Police Department,”
because that is the only subject of the plaintiff’s e-mail. Nevertheless, defense counsel remedied any confusion on
June 18, 2020. See, Exhibit B, p. 1.


                                                              2
             Case 3:20-cv-00133-JCH Document 117 Filed 06/25/20 Page 3 of 4



requesting that the materials be provided electronically, defense counsel uploaded the body camera

videos to a secure file sharing platform and sent a link to the plaintiff via e-mail on June 18, 2020.3

           After reviewing the plaintiff’s Motion for Contempt, defense counsel e-mailed the plaintiff

to inform him that the requested material had been provided via two means: (1) mail to the New

Haven address listed on the plaintiff’s pleadings; and (2) e-mail a secure link to the plaintiff’s two

e-mail addresses listed in the plaintiff’s discovery requests directed to the defendants. In light of

the fact that the material had been provided, defense counsel requested that the plaintiff withdraw

his motion for contempt.4 The plaintiff indicated by email that he intended to pursue the motion.

Since the defendant has provided the plaintiff with the requested material via two different means

over the past week, the plaintiff’s Motion for Contempt should be denied.

                                                  CONCLUSION

           Since the defendant moved to quash the subpoena directed to YUPD, which motion the

Court has not yet ruled upon, and the defendant provided the plaintiff with the requested body

camera videos via two methods, the plaintiff’s Motion to Hold Yale Police Department in

Contempt and to Compel Compliance with Subpoena Duces Tecum should be denied.




3
    A copy of the June 18, 2020 e-mail is attached hereto as Exhibit C.

4
    A copy of the June 18, 2020 e-mail is attached hereto as Exhibit D.


                                                            3
         Case 3:20-cv-00133-JCH Document 117 Filed 06/25/20 Page 4 of 4



                                                THE DEFENDANT,

                                                YALE UNIVERSITY


                                          By:                 /s/
                                                PATRICK M. NOONAN – CT00189
                                                COLLEEN NOONAN DAVIS – CT27773
                                                DONAHUE, DURHAM & NOONAN, P.C.
                                                Concept Park
                                                741 Boston Post Road, Suite 306
                                                Guilford, CT 06437
                                                Telephone: (203) 458-9168
                                                Fax: (203) 458-4424
                                                Email: pnoonan@ddnctlaw.com




                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.


                                                      _______________/s/________________
                                                             Patrick M. Noonan




                                                  4
